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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                       CASE NO. 14-60611-CIV-ROSENBERG/BRANNON

  OLGA ROSALES,

         Plaintiff,

  vs.

  MSC CROCIERE, S.A., a
  Foreign corporation,

        Defendant.
  ________________________/

    PLAINTIFF’S MOTION TO ALLOW JURY TRIAL AND/OR MOTION TO STRIKE
                 DEFENDANT’S AFFIRMATIVE DEFENSE NO. 20

         COMES NOW Plaintiff, OLGA ROSALES, by and through her undersigned counsel,

  and hereby moves this Honorable Court for the entry of an Order allowing Plaintiff to have a

  jury trial on all issues so triable therein and/or Motion to Strike Defendant’s Affirmative Defense

  No. 20 [DN 9] and as grounds therefore states:

         1.      Article III §2 of the United States Constitution vests Federal Courts with original

  jurisdiction over all cases of admiralty and maritime jurisdiction. However, §9 of the Judiciary

  Act of 1789 “saved to suitors, in all cases, the right of a common law remedy, where the

  common law is competent to give it.” Title 28, U.S.C. §1333(1) now states that “The District

  Court shall have original jurisdiction, exclusive of the Courts of the States, of …any civil case of

  admiralty or maritime jurisdiction, saving to suitors in all cases all other remedies to which they

  are otherwise entitled.” “By reason of the savings clause, State Courts have jurisdiction in

  personam, concurrent with the Admiralty Courts, of all (common law) causes of action, maritime

  in their nature…”    A cruise ticket is considered a contract of adhesion.        Chan v. Society
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  Expeditions, Inc., 123 F.3d 1287 (9th Cir. 1997). In Carnival Cruise Lines, Inc. v. Shute, 449

  U.S. 585 (1991), the Court held that such a cruise ticket may “reasonably” dictate the

  geographical locality for passenger suits. Shute began as an action voluntarily initiated by a

  passenger-suitor on the Admiralty (non-jury) side of Federal Court, it involved a former, purely

  geographical forum selection clause in Carnival’s passenger ticket. Thus Shute did not implicate

  the savings to suitors clause at all. In Sullivan v. Ajax Navigation Corp. and Celebrity Cruises,

  Inc., 881 F.Supp. 906 (S.D. NY 1995), the Court refused to enforce a now-defunct Federal forum

  clause of Celebrity Cruises. The relevant clause was properly placed on the ticket, had the

  correct font size, and specifically required all passengers to originally file their suits on the

  Federal Admiralty side “without demand for jury trial.” Mrs. Sullivan objected and the

  Defendant carrier moved to strike the jury demand. However, the U.S. District Court denied the

  carrier’s motion, noting: The right to a jury trial is guaranteed by the United States Constitution.

  “It is elementary that this 7th Amendment right to a jury trial is fundamental and that its

  protection can only be relinquished knowingly and intentionally…a presumption exists against

  waiving the right to a jury trial [citations omitted].”

          2.      The burden on proving that a waiver of jury trial was knowing and intentional

  rests with the party attempting to enforce the purported waiver. National Equipment Rental, Ltd.

  v. Hendrix, 565 F.2d 255 (C.A. N.Y. 1977).

          3.      The Defendant has failed to prove that the Plaintiff was aware she was

  relinquishing a Constitutional right to a jury trial when she boarded the cruise ship. The subject

  ticket, non-negotiable, drafted by the Defendant did not give Plaintiff an opportunity other than

  to accept the contract as written. This absence of equal bargaining powers militates against

  enforcing the specific term of the contract of passage.
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         WHEREFORE, Plaintiff respectfully requests this Honorable Court for the entry of an

  Order allowing Plaintiff to have a jury trial on all issues so triable and/or to strike Defendant’s

  Affirmative Defense No. 20 and for any and all other relief this Court deems just and proper.

         DATED this 3rd day of November, 2014.

                                               Respectfully submitted,
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 3, 2014, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached
  Service List in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties who are
  not authorized to receive electronically Notices of Electronic Filing.

                                             Respectfully submitted,
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